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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO.: 16-cv-24466-MGC

  YVONNE SOUCHET,

         Plaintiff,

  v.

  CITY OF SWEETWATER, FLORIDA, a municipal corporation,
  BLUE MARTINI KENDALL LLC and BLUE MARTINI KENDALL, INC.,
  JESUS DOMINGUEZ, individually, and JACKSONVILLE PELAEZ, individually,

              Defendants.
  ____________________________________________/

   JOINT STIPULATION FOR FINAL ORDER OF DISMISSAL WITH PREJUDICE AS
                           TO ALL DEFENDANTS

         Plaintiff and all Defendants, by and through their undersigned counsel, having reached

  approval of settlement, and in accordance with Rule 41(a)(1) of the Federal Rules of Civil Procedure,

  hereby stipulate to the dismissal of this action, with prejudice, as to all defendants, and with each

  parties to bear its own attorney’s fees and costs with the Court retaining jurisdiction to enforce the

  terms of the settlement.



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                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on December 29, 2017, I electronically filed the foregoing
  document with attachment with the Clerk of Court by using the CM/ECF system. I further certify
  that I either mailed the foregoing document and the Notice of Electronic Filing by first class mail to
  any non CM/ECF participants and/or the foregoing document was served via transmission of Notice
  of Electronic Filing generated by CM/ECF to any and all active CM/ECF participants.

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                                                             By: /s/ Gary Kollin




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